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                                       MINUTES



  CASE NUMBER:             CV 17-00493JAO-RT
  CASE NAME:               Graham T. Chelius, et al. vs. United States Food and Drug
                           Administration, et al.
  ATTYS FOR PLA:           Julia Kay (by phone)
                           Mateo Caballero (by phone)
                           Susan Talcott Camp (by phone)
  ATTYS FOR DEFT:          Roger Gural (by phone)
  INTERPRETER:


        JUDGE:      Rom Trader                     REPORTER:         No Record

        DATE:       04/25/2019                     TIME:             9:32 - 9:39


 COURT ACTION: EP: Status Conference re: Expert Reports -

 Discussion held re: elimination of expert deadlines from the Rule 16 Scheduling
 Conference Order.

 By agreement of the parties, the deadlines for expert reports are eliminated from the
 scheduling order, and any expert declarations attached to a dispositive motion or an
 opposition or reply brief on a dispositive motion, will take the place of expert reports.

 Ms. Kaye to prepare the stipulation, and to submit it to Magistrate Judge Trader’s orders
 box.

 Ms. Kay notified the Court that the parties intend to reach out to Judge Otake to set the
 cross motions for summary judgment for hearing, and if it impacts the scheduling order,
 they will contact the Court.


 Submitted by: Toni Fujinaga, Courtroom Manager.
